                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      at KNOXVILLE


 MICHAEL CROWL                                    )
                                                  )
               Petitioner,                        )
                                                  )
 v.                                               )        3:04-cr-136
                                                  )        3:07-cv-07
                                                  )        Jordan
                                                  )
 UNITED STATES OF AMERICA                         )
                                                  )
               Respondent.                        )


                                   JUDGMENT ORDER


        In accordance with the accompanying Memorandum, the motion to vacate, set aside

 or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED and this action is

 DISMISSED. All other pending motions are DENIED as MOOT. Should the petitioner

 give timely notice of an appeal from this decision, such notice will be treated as an

 application for a certificate of appealability, which under the circumstances is DENIED. The

 court CERTIFIES that any appeal from this action would not be taken in good faith and

 would be totally frivolous. Therefore, this court hereby DENIES the petitioner leave to

 proceed in forma pauperis on appeal.


               E N T E R:
                                                            s/ Leon Jordan
                                                      United States District Judge
 ENTERED AS A JUDGMENT
    s/ Patricia L. McNutt
    CLERK OF COURT


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